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 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )            No. CR-05-00638 SI
                                           )
12                     Plaintiff,          )            STIPULATION AND [PROPOSED]
                                           )            ORDER FOR TRAVEL TO
13   vs.                                   )            WASHINGTON.
                                           )
14   LEROY LEWIS,                          )
                                           )
15                     Defendant.          )
     _____________________________________ )
16

17          Defendant LeRoy Albert Lewis respectfully requests that this Court amend his bond to

18   grant him permission to travel from his home in Danville, California to Walla Walla,

19   Washington from June 18, 2006 to June 24, 2006, for the purpose of visiting a long time mentor

20   and friend who has fallen ill.

21          Mr. Lewis himself is quite ill and is undergoing Proton Beam Chemotherapy at Loma

22   Linda Hospital in Loma Linda, California. Mr. Lewis therefore respectfully requests that he be

23   permitted to travel by way of motorcar to Walla Walla, Washington June 18 through June 24,

24   2006. Should the Court grant Mr. Lewis’ request, Mr. Lewis will provide to Pretrial Services the

25   information regarding the name, address and telephone number where he will be staying along

26   with his departure and arrival times.

     [PROPOSED]
      TRAVEL ORDER                                  1
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 1          United States Pretrial Services Officer Betty Kim does not have any objections to this

 2   request. The Government by and through its agent Assistant United States Attorney Robert J.

 3   Livermore, does not have any objections to Mr. Lewis’s travel request.

 4
     Dated: June 15, 2006
 5
                                                Respectfully submitted,
 6

 7                                                     /s/
                                                DAVID W. FERMINO
 8                                              Assistant Federal Public Defender

 9

10   Dated: June 15, 2006                          /s/
                                                ROBERT J. LIVERMORE
11

12   I hereby attest that I have on file all holograph signatures for any signatures indicated by a
     “conformed” signature (/s) within this e-filed document.
13

14                                          ORDER

15          For good cause shown, IT IS HEREBY ORDERED, that LeRoy Albert Lewis is

16   permitted to travel outside of the Northern District for the purpose of visiting his ill friend in the

17   town and state of Walla Walla, Washington. The Court further ORDERS that Mr. Lewis will

18   provide the information regarding the name, address and telephone number where he will be

19   staying along with his departure and arrival times to Pretrial Services prior to his departure.

20

21          IT IS SO ORDERED.

22

23   DATED:                                         ________________________
                                                    SUSAN ILLSTON
24                                                  UNITED STATES DISTRICT JUDGE

25

26

     [PROPOSED]
      TRAVEL ORDER                                      2
